           Case 1:01-md-01421-CCB Document 205 Filed 05/15/07 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

IN RE WIRELESS TELEPHONE RADIO                       *
FREQUENCY EMISSIONS PRODUCTS
LIABILITY LITIGATION                                 *     MDL No. 1421

THIS DOCUMENT RELATES TO:                            *     Civil Action No. 01-MD-1421
Farina v. Nokia Inc., et al., (E.D. Pa.),
CCB-01-3261 and CCB-06-1577                          *
Louther v. AT&T Corp., (M.D. Fla.), CCB-03-3229

                                            MEMORANDUM

       Once again this court must consider whether to file a Suggestion of Remand with the

MDL Panel as to cellphone litigation originally transferred to this District in November 2001 for

coordinated or consolidated pretrial proceedings. Assuming familiarity with the earlier opinions

in this case, and particularly my Suggestion of Remand issued February 15, 2006, I will state a

brief chronology of the events since then and my reasons for recommending to the Panel that the

remaining cases be remanded, for good cause, to the transferor courts.

       In February 2006 the two cases remaining before me, as to which federal diversity

jurisdiction was established, were Naquin, a nation-wide class action that had been removed to

the Eastern District of Louisiana, and Louther, a single-plaintiff suit removed to the Middle

District of Florida.1 Within days after my Suggestion of Remand as to those two cases was filed

with the Panel, however, two previously remanded state-wide class actions (Pinney in Maryland

and Farina in Pennsylvania) were removed to federal court by a newly-added defendant on the

basis of CAFA jurisdiction.2 Believing that, if Pinney and Farina were properly removed, the



       1
        Brower, a California state-wide class action, was remanded to state court in February
2006 for lack of federal jurisdiction.
       2
        Class Action Fairness Act, 28 U.S.C. §§ 1332, 1453, 1711-15.
           Case 1:01-md-01421-CCB Document 205 Filed 05/15/07 Page 2 of 4



pendency of three similar class actions might well warrant continuation of MDL proceedings in

this District, I withdrew the Suggestion of Remand and on March 13, 2006 the Panel vacated its

conditional order transferring back the Naquin and Louther cases. Farina was transferred to this

District on June 15, 2006.

       Before briefing and oral argument could be heard on the parties’ motions to remand and

to dismiss, however, both Naquin and Pinney were voluntarily dismissed by the plaintiffs.3 Thus

the only cases pending are Farina and Louther, which present significantly different issues. In

Louther the plaintiff claims that use of an AT&T model 3810 cell phone from 1995 to 1998

caused or aggravated a brain tumor which in turn caused the death of James Louther in 2001.

Louther relies on the Florida Wrongful Death statute in seeking monetary damages. In Farina,

brought entirely under Pennsylvania law, the state-wide class is limited to those who have

purchased or leased cell phones but have not been diagnosed with any illness or injury resulting

from their use. The class sues multiple cell phone sellers and manufacturers, as well as two

national trade associations, to require the provision of headsets to reduce the risk of adverse

biological effects from radio frequency emissions.4 Common law and statutory claims are

asserted for conspiracy, breach of warranty, and unfair trade practices.

       In Farina, motions to dismiss the Pennsylvania state law claims have been fully briefed.

Those motions are not applicable to the claims in Louther. Little or no class or merits discovery


       3
         Pinney was dismissed on April 6, 2006; Naquin was dismissed on November 6, 2006.
The dismissals are without prejudice but with the stipulation that, if refiled, they will be filed in
federal court. Plaintiffs’ counsel stated at the hearing that “there is no intention to refile those
cases.” (Remand Hr’g Tr. 37, April 25, 2007.)
       4
       The third amended complaint also contains a paragraph alleging that the use of a cell
phone without a headset increases the risk of injury while operating a motor vehicle. (¶ 114.)

                                                  2
           Case 1:01-md-01421-CCB Document 205 Filed 05/15/07 Page 3 of 4



has begun in either case, and discovery will be much broader in Farina, if it proceeds.

Admittedly there will be some overlap as to the scientific evidence supporting the plaintiffs’

claims of health risk resulting from exposure to RF emissions. Issues of specific causation,

however, will be unique to Louther. Further, the courts handling Farina and Louther will have

the ability to coordinate the discovery of scientific evidence and any necessary Daubert hearings,

if they see fit. See Manual for Complex Litigation (Fourth) § 20.14 (2004).

       Upon careful consideration, and particularly in light of the different case-specific work to

be done in these matters, I am not persuaded that whatever expertise I have accumulated in

regard to this litigation warrants the continuation of MDL proceedings in this District. See In re

Evergreen Valley Project Litig., 435 F. Supp. 923, 924 (J.P.M.L. 1977); In re Multidistrict Civil

Actions Involving the Air Crash Disaster near Dayton, OH, 386 F. Supp. 908, 909 (J.P.M.L.

1975). That “expertise” does not, of course, extend to Pennsylvania or Florida state law, and the

scientific evidence I considered in a prior case, see Newman v. Motorola, Inc., 218 F. Supp. 2d

769 (D. Md. 2002), would in any event require updating given the passage of several years.

Accordingly, it is appropriate for me to grant the plaintiffs’ joint motion (docket entry no. 173)

and suggest to the MDL Panel that the Farina and Louther cases be remanded, for good cause, to

the transferor courts. See J.P.M.L.R.P. 7.6(c)(ii).5




       5
          If the Panel accepts this suggestion, presumably Judge John Padova in the Eastern
District of Pennsylvania will receive the Farina case and should have the opportunity to make
his own decision on CAFA jurisdiction and the motion to remand Farina to state court. The
transcript of the April 25, 2007 hearing will be available if he finds it helpful to review. Nor will
I rule on the defendants’ motions to dismiss, or their motion to refer questions to the FCC.

                                                 3
   Case 1:01-md-01421-CCB Document 205 Filed 05/15/07 Page 4 of 4



  A separate Suggestion of Remand follows.



May 15, 2007                                          /s/
  Date                                       Catherine C. Blake
                                             United States District Judge




                                       4
